Case 4:07-cv-05944-JST Document 1660-2 Filed 04/25/13 Page 1 of 15

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Attorneys for Defendants Panasonic Corporation of North America, MT Picture Display Co., Ltd.,
and Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

In re: CATHODE RAY TUBE (CRT) ANTITRUST ) Case No. 07-5944 SC
LITIGATION )
)) MDL. No. 1917

This Document Relates to:
DECLARATION OF EVA W. COLE IN

INDIRECT-PURCHASER ACTIONS SUPPORT OF DEFENDANTS?
OPPOSITION TO MOTION OF
INDIRECT-PURCHASER PLAINTIFFS
FOR CLASS CERTIFICATION AND
MOTION TO STRIKE

DOCUMENT SUBMITTED PARTIALLY UNDER SEAL

AND CHAMBERS COPY

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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I, Eva W. Cole, declare as follows:

I am an attorney with Winston & Strawn LLP, attorneys for Defendants Panasonic
Corporation of North America, MT Picture Display Co., Ltd., and Panasonic Corporation (f/k/a
Matsushita Electric Industrial Co., Ltd.) (collectively, the “Panasonic Defendants’’) in these actions.
I am a member of the bar of the State of New York and J am admitted to practice before this Court
pro hac vice. | make this declaration in support of Defendants’ Memorandum of Points and
Authorities in Opposition to Motion of Indirect Purchaser Plaintiffs for Class Certification.

1. Attached hereto as Exhibit 1 are true and correct copies of a

2. Attached hereto as Exhibit 2 is a true and correct copy of the transcript of the
deposition of Dr. Janet S. Netz, the indirect-purchaser plaintiffs’ expert witness.

3. Attached hereto as Exhibit 3 are true and correct copies of [I

4, Attached hereto as Exhibit 4 are true and correct copies of excerpts from the
transcript of the deposition of Kyung Tae Kwon, who was designated as a Fed. R. Civ. P. 30(b)(6)
witness for defendant LG Electronics, Inc.

5. Attached hereto as Exhibit 5 are true and correct copies of [I

6. Attached hereto as Exhibit 6 are true and correct copies of [II

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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Case 4:07-cv-05944-JST Document 1660-2 Filed 04/25/13 Page 3 of 15

7. Attached hereto as Exhibit 7 are true and correct copies of [EE

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

Case 4:07-cv-05944-JST Document 1660-2 Filed 04/25/13 Page 4 of 15

13. Attached hereto as Exhibit 13 is a true and correct copy of [TY

18. Attached hereto as Exhibit 18 are true and correct copies of a

19. Attached hereto as Exhibit 19 is a true and correct copy of a

DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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20. Attached hereto as Exhibit 20 is a true and correct copy of [RT

21. Attached hereto as Exhibit 21 are true and correct copies of [I

22. Attached hereto as Exhibit 22 are true and correct copies of [I

23. Attached hereto as Exhibit 23 is a true and correct copy of [I

24. Attached hereto as Exhibit 24 are true and correct copies of [J

25. Attached hereto as Exhibit 25 is a true and correct copy of [I

26. Attached hereto as Exhibit 26 is a true and correct copy of [I

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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27. Attached hereto as Exhibit 27 is a true and correct copy of [EE

28. Attached hereto as Exhibit 28 are true and correct copies of [I

29. Attached hereto as Exhibit 29 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Louise Wood (New York).

30. Attached hereto as Exhibit 30 are true and correct copies of [I

34. Attached hereto as Exhibit 34 is a true and correct copy of [I

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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DECL. OF EVA W. COLE 1/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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41. Attached hereto as Exhibit 41 is a true and correct copy of A

42. Attached hereto as Exhibit 42 is a true and correct copy of Re

43. Attached hereto as Exhibit 43 is a true and correct copy of [I

44. Attached hereto as Exhibit 44 is a true and correct copy of a

45. Attached hereto as Exhibit 45 is a true and correct copy of [I

46. Attached hereto as Exhibit 46 is a true and correct copy of [RR

47. Attached hereto as Exhibit 47 is a true and correct copy of Re

DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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Case 4:07-cv-05944-JST Document 1660-2 Filed 04/25/13 Page 9 of 15

48. Attached hereto as Exhibit 48 are true and correct copies of [

49. Attached hereto as Exhibit 49 is a true and correct copy of [I

50. Attached hereto as Exhibit 50 is a true and correct copy of a July 27, 2001
email from Tomoko Kouno bearing the bates numbers HDP-CRT00049107 through HDP-
CRT00049 108, and that was produced in this litigation by defendant Hitachi Displays, Ltd.

51. Attached hereto as Exhibit 51 are true and correct copies of [I

52. Attached hereto as Exhibit 52 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Gloria Comeaux (Nevada).
53. Attached hereto as Exhibit 53 are true and correct copies of excerpts from the|
transcript of the deposition of Alvin Guttman, who was designated as a Fed. R. Civ. P. 30(b)(6)
witness for indirect-purchaser plaintiff Lawyers’ Choice Suites, Inc. (District of Columbia).

54. Attached hereto as Exhibit 54 is a true and correct copy of [I

55. Attached hereto as Exhibit 55 are true and correct copies of excerpts from the
transcript of the deposition of Yoon Suk Lee, who was designated as a Fed. R. Civ. P. 30(b)(6)

witness for defendant LG Electronics, Inc.
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DECL. OF EVA W. COLE [/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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56. Attached hereto as Exhibit 56 are true and correct copies of

57. Attached hereto as Exhibit 57 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Daniel Riebow (Hawaii).

58. Attached hereto as Exhibit 58 are true and correct copies of a

59. Attached hereto as Exhibit 59 is a true and correct copy of [I

60. Attached hereto as Exhibit 60 is a true and correct copy of a

61. Attached hereto as Exhibit 61 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Barry Kushner (Minnesota).

62. Attached hereto as Exhibit 62 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Gary Hanson (North Dakota).

63. Attached hereto as Exhibit 63 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Lisa Reynolds (Michigan).

64. Attached hereto as Exhibit 64 are true and correct copies of excerpts from the

transcript of the deposition of indirect-purchaser plaintiff Margaret Slagle (Vermont).

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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65. Attached hereto as Exhibit 65 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Kerry Lee Hall (Maine).

66. Attached hereto as Exhibit 66 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Janet Ackerman (New York).

67. Attached hereto as Exhibit 67 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Albert Crigler (Tennessee).

68. Attached hereto as Exhibit 68 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Jeffrey Figone (California).

69. Attached hereto as Exhibit 69 are true and correct copies of excerpts from the
transoript of the deposition of indirect-purchaser plaintiff Samuel Nasto (Nevada).

70. Attached hereto as Exhibit 70 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Brian Luscher (Arizona).

71. | Attached hereto as Exhibit 71 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Steven Ganz (California).

72. Attached hereto as Exhibit 72 are true and correct copies of excerpts from the
transcript of the deposition of indirect: purchaser plaintiff David Rooks (Florida).

73. Attached hereto as Exhibit 73 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Patricia Andrews (North Carolina).

74. Attached hereto as Exhibit 74 are true and correct copies of excerpts from the
transcript of the deposition of indirect-purchaser plaintiff Terry Jenkins (Mississippi).

75. Attached hereto as Exhibit 75 are true and correct copies of excerpts from the

transcript of the deposition of indirect-purchaser plaintiff Brigid Terry (Wisconsin).

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
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76. Attached hereto as Exhibit 76 are true and correct copies of excerpts from the
transcript of the deposition of Tony McKee, who was designated as a Fed. R. Civ. P. 30(b)(6)
witness for indirect-purchaser plaintiff Southern Office Supply, Inc. (Kansas).

77. Attached hereto as Exhibit 77 is a true and correct copy of a page of an
instruction for use booklet for a Philips Magnavox Color Television bearing the bates number
CRT000381 through CRT000415, and that was produced in this litigation by indirect-purchaser
plaintiffs.

78. Attached hereto as Exhibit 78 is Samsung Exhibit B21, an excerpt of indirect-
purchaser plaintiff Frank Warner’s responses to defendant Samsung SDI Ltd. Co.’s First Set of
Interrogatories, dated September 7, 2011.

79. Attached hereto as Exhibit 79 is a true and correct copy of [I

80. | Attached hereto as Exhibit 80 is a true and correct copy of ee

81. Attached hereto as Exhibit 81 is a true and correct copy J

82. Attached hereto as Exhibit 82 is a true and correct copy of a

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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84. Attached hereto as Exhibit 84 is a true and correct copy of

85... Attached hereto as Exhibit 85 is a true and correct copy of a

DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
TO CLASS CERTIFICATION AND MOTION TO STRIKE MDL No. 1917

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89. Attached hereto as Exhibit 89 is a true and correct copy of a

90. Attached hereto as Exhibit 90 is a true and correct copy of [I

DATED: December 17, 2012 By: __/s/ Eva W. Cole

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North America, MT Picture Display Co., Ltd., and
Panasonic Corporation (f/k/a Matsushita Electric
Industrial Co., Ltd.)

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DECL. OF EVA W. COLE I/S/O DEFENDANTS’ OPP’N Case No. 07-5944 SC
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